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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

               Plaintiff,

               v.                                 Case No. 11-20551-39

 ERIC HESTER,

            Defendant.
 _________________________/

  ORDER STRIKING DEFENDANT’S JUNE 2, 2014, “NOTICE OF REVOCATION OF
           PLEA AGREEMENT AND TERMINATION OF COUNSEL”

        On June 2, 2010, the Clerk of the Court docketed a “Notice of Revocation of Plea

 Agreement and Termination of Counsel” filed pro se by Eric Hester. The court will strike

 the notice because, at the time of the filing, Defendant was represented by counsel.

 Thus, all filings must be made by the attorney of record.

        Defendant is not entitled to represent himself while simultaneously represented

 by counsel. A criminal defendant has the right to appear pro se or by counsel, a right

 protected both by the Sixth Amendment to the United States Constitution and by federal

 statute. See 28 U.S.C. § 1654 (“In all courts of the United States the parties may plead

 and conduct their own cases personally or by counsel . . . .”); see also Faretta v.

 California, 422 U.S. 806, 807, 832 (1975); United States v. Daniels, 572 F.2d 535, 540

 (5th Cir. 1978); Ennis v. LeFevre, 560 F.2d 1072, 1075 (2nd Cir. 1977); United States v.

 Williams, 534 F.2d 119, 123 (8th Cir. 1976). This right, however, is disjunctive, thus a

 party may chose either to represent himself or to appear through an attorney. There is

 no right to “hybrid” representation that would result in simultaneous or alternating self-
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 representation and representation by counsel. A person represented by counsel must

 rely upon that counsel. See, e.g., United States v. Olson, 576 F.2d 1267, 1269-70 (8th

 Cir. 1978); Daniels, 572 F.2d at 540; Ennis, 560 F.2d at 1075; Williams, 534 F.2d at

 123; United States v. Hill, 526 F.2d 1019, 1024-25 (10th Cir. 1975); Move Org. v. City of

 Phila., 89 F.R.D. 521, 523 n.1 (E.D.Pa.1981); United States ex rel. Snyder v. Mack, 372

 F.Supp. 1077, 1078-79 (E.D.Pa.1974); cf. Storseth v. Spellman, 654 F.2d 1349,

 1352-53 (9th Cir. 1981) (once counsel is appointed, prisoner has no right to assistance

 from inmate writer). In light of this case law, the court will only accept motions filed by

 Defendant’s attorney of record.

            IT IS ORDERED that Defendant Hester’s June 2, 2014, “Notice of Revocation of

 Plea Agreement and Termination of Counsel” (Dkt. # 748) is STRICKEN from the

 docket of this court.


                                                                         S/Robert H. Cleland
                                                                        ROBERT H. CLELAND
                                                                        UNITED STATES DISTRICT JUDGE
 Dated: June 5, 2014


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, June 5, 2014, by electronic and/or ordinary mail.

                                                                         S/Lisa Wagner
                                                                        Case Manager and Deputy Clerk
                                                                        (313) 234-5522




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